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                  EXHIBIT B
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  Failure Analysis of Chart MVE 808AF-GB Cryopreservation Tank
                    Serial Number CAB2112020013


                Pacific Fertility Center Litigation

                  United States District Court
                 Northern District of California
                    San Francisco Division

                  Case No. 3:18-cv-01586-JSC

            Date of Incident: Sunday, March 4, 2018

          Location of Incident: Pacific Fertility Center
    55 Francisco Street, Suite 500, San Francisco, California 94133




                                               Rebuttal Report prepared by:
                                               Anand David Kasbekar, Ph.D.
                                                              File No. 1780
                                                          December 4, 2020
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Additional Materials Reviewed

       1.   2020-11-06 Eldon Leaphart Report
       2.   2020-11-06 Ronald Parrington Report
       3.   2020-11-16 Ronald Parrington Deposition
       4.   2020-11-06 Franklin Miller Report
       5.   2020-12-01 Franklin Miller Rough Draft Deposition
       6.   2020-11-30 Virtual Inspection of Exemplar Tank Used by Franklin Miller
       7.   References as cited in this report


Analysis and Discussion

   Mr. Leaphart’s report confirms that the subject Chart TEC 3000 Controller started
malfunctioning on February 15, 2018, approximately 17 days prior to the March 4, 2018
incident.




   Mr. Parrington does not provide an explanation for the cause of the incident that is supported
by scientific analysis.




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                                                                                           Beach marks
however are routinely found on fracture surfaces of components that have failed due to
fatigue.2,3,4,5 Volume 12 of the Metals Handbook states “The most distinct characteristic of
fatigue failures in the field are the beach marks or clam shell markings on the cyclically grown
portion of the fracture”. 6 This authoritative and well respected reference further states “The
presence of beach marks is fortuitous, at least for the investigator, because beach marks permit
the origin to be easily determined…”




1
  Ronald Parrington Report of November 6, 2020, p. 32 Figure 35.
2
  D. Hull, Fractography Observing, Measuring, Interpreting Fracture Surface Topography, Cambridge University
Press, 1999, p. 332-333.
3
  L. Engel and H. Klingele, An Atlas of Metal Damage, Prentice Hall, 1981 p. 84-85
4
  ASM Metals Handbook Volume 9 8th Edition Fractography and Atlas of Fractographs p. 455.
5
  Journal of Failure Analysis and Prevention Volume 5(2) April 2005, ASM International p. 11-15
6
  ASM Handbook Volume 12 Fractography p. 111-112, 358-359.
7
  A. Griebel Technical Brief: Fatigue Dimples, Journal of Failure Analysis and Prevention Volume 9 2009, ASM
International p. 193-196
                                                                                                               2
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     Fatigue failure is a known issue affecting cryogenic storage tanks.8,9,10,11,12 Despite the
presence of several features that are strong indicators of progressive fracture or fatigue, Mr.
Parrington rules out fatigue in favor of monotonic overload because the “failure scenario
involving fatigue is quite complicated” and “monotonic ductile overload is much more
straightforward”. I strongly disagree with this conclusion which fails to reasonably account for
the fractographic features that indicate fatigue failure. Mr. Parrington does not provide a
reasonable scientific explanation for the observed beach marks other than fatigue.




                                     In fact, contraction of the fill line would create an upward
bending load on the fitting and put the root of the weld in tension (crack opening loading) where
severe stress risers exist.




8
  Nishimura, A. and Mukai, Y., “Cold Thermal Fatigue of Austenitic Stainless Steel”, Advances in Cryogenic
Engineering (Materials), Vol. 38, Edited by F.R. Fickett and R.P. Reed, Plenum Press, New York, 1992.
9
  I.K. Heo, D.H. Yoon, J.H. Kim, H.C. Kim, K.D. Kim, “Fatigue crack propagation behavior in AISI 304 steel
welded joints for cold-stretched liquefied natural gas (LNG) storage tank at cryogenic temperatures”,
Materialwiss. Werkstofftech. 2019, 50, 580-587.
10
   Y.K. Yoon, J.H. Kim, K.T. Shim, "Mechanical Characteristics of 9% Ni Steel Welded Joint for LNG Storage
Tank at Cryogenic", Advanced Materials Development and Performance, International Journal of Modern Physics:
Conference Series Vol 6 (2012) 355-360. World Scientific Publishing Company.
11
    Edeskuty F.J., Stewart W.F. (1996) Stresses Caused by Thermal Contraction. In: Safety in the Handling of
Cryogenic Fluids. The International Cryogenics Monograph Series. Springer, Boston,
MA. https://doi.org/10.1007/978-1-4899-0307-5_4
12
   Health and Safety Executive: Safety alert Restricted pipe movement withing perlite vacuum insulated static
cryogenic tanks of capacity above 1000 litres. Pages 1-5
13
   Understanding How Components Fail, 2nd Edition, ASM International p.1-11
                                                                                                            3
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                               I have been involved in the field of failure analysis for over 35 years.
I have investigated numerous failures that were clearly due to fatigue in which fatigue striations
could not be resolved. It is particularly noteworthy that Volume 11 of the Metals Handbook
specifically states that fatigue fracture surface “may show striations at magnifications above
500x” (emphasis added).14 It is also noteworthy that the area which appears striation-like is
resolved at 500x and above, and best observed at 1000x and above. Since I am not able to
conclude that these are in fact fatigue striations, without conducting additional SEM
investigation, I did not rely upon this feature in forming my opinion. However, the orientation of
these striation-like features is consistent with a fracture origin at the weld root. Additionally, the
location of the striation-like features is on an undamaged region of the fracture that is below and
therefore protected by the surrounding fracture surface. It is in these protected low-lying areas
where striations are commonly found on damaged fatigue fracture surfaces. While additional
investigation would be necessary to draw a reliable conclusion regarding the specific nature of
these striation-like marks, they could be consistent with the other conclusive fatigue
characteristics observed on this fracture surface.

     While I am not comfortable relying solely on these “striations.” they should not be
completely discounted, as they are consistent with the other documented fatigue fracture
features. Additionally, it is not unusual for an investigator to be unable to find or resolve fatigue
striations even on failures that are known to be due to fatigue. Even with substantial efforts to
search for fatigue striations at high magnification it is often the case that they can’t be found
despite the fracture being a result of fatigue.


14
  Tanzer, A., “Determination and Classification of Damage”, ASM Handbook, Volume 11, Failure Analysis and
Prevention, 2002, p. 345, Table 1.
                                                                                                            4
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                                            Laboratory fractures are generally more pristine than field
fractures and therefore striations are more readily imaged. In practice, fatigue striations can be
difficult or impossible to observe on fracture surfaces and these striations are even more difficult
to observe in weld metal.15 It is well known that the absence of fatigue striations does not prove
that the failure was not due to fatigue.16,17 The subject tank is constructed from a 304 stainless
steel which is an austenitic stainless steel. The Parrington report shows multiple examples of
striations in 300 series stainless seemingly to imply that striations should have been readily
visible on the subject fracture if the failure was due to fatigue. This logic is incorrect and
potentially misleading not only for the reasons discussed above but also because fatigue
striations in austenitic stainless steel have been reported to be relatively difficult to detect.18




15
    Tang, L.; Qian, C.; Ince, A.; Zheng, J.; Li, H.; Han, Z. Fatigue Crack Growth Behavior of the MIG Welded Joint
of 06Cr19Ni10 Stainless Steel. Materials 2018, 11, 1336.
16
    American Society for Metals,, & ASM International. (1987). ASM Handbook: Volume 12 Fractography. p. 118-
119.
17
   2020-11-16 Deposition of Ronald Parrington, 68:23-69:1
18
   Journal of Failure Analysis and Prevention Volume 5(2) April 2005, ASM International p. 11-15
19
   Ronald Parrington Report of November 6, 2020, p. 4
                                                                                                                 5
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                      I was present during the removal of the false bottom which involved substantial
efforts to cut and remove it from the deformed tank. Mr. Parrington was not present during the
cutting and removal of the false bottom. While the false bottom removal was done in a careful
manner, it was not a precision operation given the difficulty accessing the bottom of the tank and
the need to make multiple cuts and manipulate and free the cut pieces from the damaged tank. It
is likely that the forces and significant vibrations that took place during this process contributed
to or caused the observed mark on the weld face. Mr. Parrington testified that he did not see any
photographs showing the false bottom in contact with the weld face and could not say whether or
not the witness mark was present prior to removal of the false bottom.20

       I disagree that the observed contact between the false bottom and the weld which could have
occurred during removal of the false bottom or possibly during the deformation (after nitrogen
pressurized the vacuum space) is a reasonable explanation for why the fill port weld cracked but
the sense port weld did not. Mr. Parrington provides no analysis to support this conclusion, and
he can’t say if the witness mark was present prior to removal of the false bottom.




20
     2020-11-16 Deposition of Ronald Parrington 72:15-17, 74:21-75-1
                                                                                                       6
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                                                Contrary to Mr. Parrington’s assertion that it is hard to
fathom very high cyclic stress in the annular lines, the thermally induced cyclic stress is actually
very high in the area of the weld root due to contraction of the annular line from cooling. This is
the precise area where I concluded that this failure initiated, and this analysis further supports my
findings and is consistent with the literature and Dr. Miller’s testimony related to thermal
contraction in cryogenic equipment26,27,28.




21
   Id. 85:4-23
22
   Id. 117:19-25
23
   Id. 176:10-13
24
   Understanding How Components Fail, 2nd Edition, ASM International p.1-11
25
   Edeskuty F.J., Stewart W.F. (1996) Stresses Caused by Thermal Contraction. In: Safety in the Handling of
Cryogenic Fluids. The International Cryogenics Monograph Series. Springer, Boston,
MA. https://doi.org/10.1007/978-1-4899-0307-5_4
26
   Id.
27
   Health and Safety Executive: Safety alert Restricted pipe movement withing perlite vacuum insulated static
cryogenic tanks of capacity above 1000 litres. Pages 1-5
28
   2020-12-1 Rough Draft Deposition of Franklin Miller 226:5-10
                                                                                                                7
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29
   2020-12-01 Rough Draft Deposition of Franklin Miller 229:15-21
30
   Edeskuty F.J., Stewart W.F. (1996) Stresses Caused by Thermal Contraction. In: Safety in the Handling of
Cryogenic Fluids. The International Cryogenics Monograph Series. Springer, Boston,
MA. https://doi.org/10.1007/978-1-4899-0307-5_4
31
   Health and Safety Executive: Safety alert Restricted pipe movement withing perlite vacuum insulated static
cryogenic tanks of capacity above 1000 litres. Pages 1-5
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     It should be noted that early in this investigation,




This more recent response is consistent with the apparent and classic buckled beam shape of the
fill and sense lines which ultimately appear to have been subjected to nearly identical
compressive loads during the final buckling or implosion of the inner tank. Dissection of an
exemplar MVE 808 tank was consistent with the fill and sense lines not being bent to reduce
such stresses. It is my opinion that the design of the subject tank should have included bends in
these lines (especially the fill line) to reduce thermally induced loading and the resulting stress
on the weld that joins the annular line to the inner tank wall where this failure occurred. The use
of such bends, which create a horizontally oriented section of the tubing, would have
significantly reduced the stresses at the weld joint. This opinion is supported by basic
engineering principles, finite element analysis, and published literature pertaining to cryogenic
equipment.34,35




32
   Understanding How Components Fail, 2nd Edition, ASM International p.1-11
33
   2020-11-16 Deposition of Ronald Parrington, 166:13-17
34
   Id.
35
   Health and Safety Executive: Safety alert Restricted pipe movement withing perlite vacuum insulated static
cryogenic tanks of capacity above 1000 litres. Pages 1-5

                                                                                                                12
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           contraction of a 26 inch length of fill line if at room temperature when subjected to liquid




       Defense experts’ Mr. Parrington and Dr. Miller fail to provide a reasonable explanation
backed by sound scientific analysis for the rapid depletion of liquid nitrogen and the subsequent
tank implosion.




36
     Ronald Parrington Report of November 6, 2020, p. 7
                                                                                                     13
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     Defense experts discount features that indicate the fracture occurred in a progressive manner
and speculate regarding an undetectable slow leak that they did not attempt to locate or analyze
because it was allegedly masked during Exponent’s efforts to digitize the damaged tank or
altered during the removal of the vacuum plug.


                                                                    If defense experts believe a slow
leak or the vacuum plug was the most probable source of nitrogen leaking into the vacuum
space, then at a minimum they should have attempted or requested to clean the inner tank and
test for the alleged slow leak. Positive pressure applied to the vacuum space from the leak test
protocol that was agreed upon by all parties including Chart and their retained experts would
likely have cleared any alleged particles or other substances that Mr. Miller claimed possibly
could have blocked a slow leak.




                                               Despite extensive leak testing and flow rate testing
using equipment specified by Chart’s expert, there was no indication of a slow leak.

     Chart’s experts also made no attempt to closely examine the vacuum port plug nor reinstall
and test the vacuum port plug. Examination and testing of the vacuum port and vacuum port
plug were feasible and could have been conducted by Chart’s experts despite the removal of the
vacuum plug.38 Chart’s experts apparently chose not to examine the vacuum port and plug for
any evidence of degradation, damage, or a leak site but now claim that such a leak may have
existed without any effort to substantiate the claim.




37
   2020-12-01 Rough Draft Deposition of Franklin Miller 140:10-17
38
   Id. 138:12-139:1-7
39
   2020-11-06 Report of Franklin Miller p. 7
                                                                                                      14
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                                                      These two statements are conflicting, and given
the only detected leak site was at the failed fill port weld and that defense experts chose not to
closely and thoroughly inspect nor test the removed vacuum plug or vacuum port, it is mere
speculation unsupported by science to suggest that the vacuum port was the source of the leak
that resulted in this incident.




40
   2020-12-01 Rough Draft Deposition of Franklin Miller 133:13-17
41
   2020-11-16 Deposition of Ronald Parrington 91:1-20
42
   Id. 92:22-93:13
43
   2020-12-01 Rough Draft Deposition of Franklin Miller 208:7-12
                                                                                                     15
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     In addition to relying on a research paper for a different manufacturer’s sieve material, the
remainder of Dr. Miller’s analysis is based on theoretical calculations which assume that 100%
of the adsorbed nitrogen would be released at room temperature


                                        To the best of my knowledge his analysis does not account
for the degree to which the sieve material that was weighed in March of 2020 may have been
saturated with gas and moisture from being exposed to ambient conditions after the loss of
vacuum in March of 2018. He did no testing of the subject sieve material to show that it would
outgas to a level that would cause the implosion and deformation that was observed in Tank #4.
Dr. Miller’s theory is that a slow loss of vacuum caused the sieve material to become saturated
with nitrogen and then as the liquid nitrogen evaporated from the tank, the sieve warmed to room
temperature releasing enough gas to severely implode the tank.




                                                                              There is no evidence nor
documentation to support such occurrences. Such occurrences are also inconsistent with Chart’s
own advice that end-users completely defrost tanks every five years. Even Dr. Miller admits that
he has never seen an inner vessel deform from a spoiled (loss of) vacuum prior to this
litigation.46,47,48




44
   L.C. Yang, T.D. Vo and H.H. Burris, Nitrogen Adsorption Isotherms for Zeolite and Activated Carbon.,
Cryogenics December 1982. p. 634
45
   Id. p. 626
46
   2020-12-01 Rough Draft Deposition of Franklin Miller 32:1-5
47
   Id. 54:8-14
48
   Id. 55:6-16
                                                                                                          16
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                                              Furthermore, I disagree that Dr. Miller’s experiment
disproves Jean Popwell’s testimony that she filled Tank #4 to 14 inches on March 3, 2018, the
day prior to the incident. Dr. Miller concludes that when the staff left on March 3rd Tank #4
“likely would have had to be less than 8 inches…”50 At that level the contents of the tank would
have been exposed and noticeable to Ms. Popwell. There is no evidence nor testimony that Ms.
Popwell would have filled the tank or left the tank at a level that exposed the tank contents. Dr.
Miller’s experiment does not reproduce the conditions in Tank #4 from the time the tank was
filled by Popwell. Nor does his testing account for the possibility and probability of an internal
breach between the inner tank and vacuum space.




            Dr. Miller does not know what the vacuum level was in Tank#4 when it was last filled
on the day prior to the incident. His experiment does not replicate the conditions between the
time Jean Popwell last filled the tank and the incident. Dr. Miller simply proves that the

49
     2019-12-13 Deposition of Anand Kasbekar 71:8-15
50
     2020-12-01 Rough Draft Deposition of Franklin Miller 102:16-19
51
     2020-12-1 Rough Draft Deposition of Franklin Miller 105:1-4 and 109:18-110:4
                                                                                                     17
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conditions he subjected his exemplar tank to do not replicate the Tank #4 failure or any of the
circumstances that the eyewitnesses at PFC described and testified to in deposition..




     Whether or not Tank #4 imploded and deformed due to a slow, moderate, or rapid leak of
nitrogen into the vacuum space, the most probable cause of the loss of cooling and subsequent
implosion is the crack through the incomplete penetration weld of the fill port. In my opinion
none of the experts have or can accurately quantify the leak rate through the crack opening which
progressed over time and ultimately changed significantly due to the final implosion of the tank.


52
   2020-11-16 Deposition of Ronald Parrington 92:17-18
53
   2020-12-01 Rough Draft Deposition of Franklin Miller 105:1-6
54
   Id. 146:7-15
55
   Id. 211 19-21
                                                                                                  18
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   All of the above opinions are to a reasonable degree of scientific certainty based upon the
currently available information and materials. If additional materials become available or if
further work is warranted, I reserve the right to revise or amend these opinions.




Qualifications and Compensation

     My qualifications and compensation, along with my prior testimony and publications, are
fully addressed in my primary report submitted on November 6, 2020 and amended on
November 30, 2020.




____________________                                         _12/4/2020_
Anand David Kasbekar, Ph.D.                                  Date




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